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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-134 (CJN)
                                              :
MARK SAHADY,                                  :
                                              :
                       Defendant.             :


                UNITED STATES’ MOTION IN LIMINE REGARDING
             CROSS-EXAMINATION OF U.S. SECRET SERVICE WITNESS

       The United States of America moves to limit the cross-examination of witnesses with the

Secret Service Agency, pursuant to Fed. R. Evid. 401, 403, and 611(b).

                                       INTRODUCTION

       In Counts One and Two of the Information, the defendant, Mark Sahady, is charged with

violating 18 U.S.C. § 1752(a)(1)–(2), by, in relevant part, knowingly entering or remaining in a

restricted building or grounds without lawful authority, and knowingly, and with intent to impede

or disrupt the orderly conduct of Government business and official functions, engaging in

disorderly or disruptive conduct in, or within proximity of, any restricted building or grounds,

when such conduct does in fact impede or disrupt Government business and official functions

during the breach of the United States Capitol on January 6, 2021. That statute defines “restricted

buildings or grounds” to include any building or grounds temporarily visited by a person protected

by the Secret Service. 18 U.S.C. § 1752(c)(1)(B).

       To meet its burden of proof at trial, the government will call a witness from the United

States Secret Service to testify that at the time of the Capitol riot, Secret Service agents were on

duty to protect Vice President Mike Pence and his two immediate family members, all of whom

were present at the Capitol.
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       However, the very nature of the Secret Service’s role in protecting the Vice President and

his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting cross-examination of the Secret Service witness to questioning about the function

performed by the Secret Service as testified to on direct exam, in this case protecting the Vice

President and his family. The defendant should be specifically foreclosed from questioning the

witnesses about the following:

       1. Secret Service protocols related to the locations where protectees or their motorcades

            are taken at the Capitol or other government buildings when emergencies occur;

       2. Details about the nature of Secret Service protective details, such as the number and

            type of agents the Secret Service assigns to protectees.

                                           ARGUMENT

       I.      The Court Has the Discretion to Limit Cross-Examination of Witnesses at
               Trial

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931) (“The extent of cross-examination [of a witness] with

respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)

(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,



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prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       The Confrontation Clause only guarantees “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin,

101 F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-

examination on prejudicial matters without reasonable grounding in fact); United States v. Sampol,

636 F.2d 621, 663-64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination

of alleged CIA murder scheme until defense put forth sufficient evidence of the affirmative defense

in its case-in-chief); United States v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court

properly excluded cross examination of government’s witness with response to matter only related

to an affirmative defense and not elicited through direct exam). Preventing the defendant from

exploring the topics identified above will not infringe his Confrontation Clause right because those

topics are not relevant to an element at issue in the case, provide no basis for impeaching the Secret

Service witness, and do not implicate any affirmative defense.

       II.     Cross-Examination of Secret Service Witnesses Should Be Limited to Whether
               the Capitol was Restricted on January 6, 2021

       To prove Counts Two and Three, the government intends to offer limited testimony about

the Secret Service’s protection of certain officials on January 6, 2021. To establish these violations,

the government must prove that the Capitol and its grounds were “restricted,” for purposes of




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§ 1752(a) because the Vice President and his family were present and under the Secret Service’s

protection. 1 See 18 U.S.C. § 1752(c)(1)(B) (defining restricted buildings and grounds).

       Cross-examination of Secret Service witnesses about extraneous matters beyond the scope

of direct examination should be excluded as irrelevant or unduly prejudicial. In particular, the

Secret Service’s general protocols about relocation for safety should be excluded as irrelevant

because such evidence does not tend to make a fact of consequence more or less probable. Fed.

R. Evid. 401 (defining relevant evidence). Similarly, evidence of the nature of Secret Service

protective details is not relevant in this case. The number or type of assigned agents on a protective

detail does not alter the probability that the disorder interfered with the Secret Service’s duties to

protectees in this case, or that the Capitol and its grounds were restricted at the time. None of the

other elements to be proven, or available defenses, implicates further testimony from the Secret

Service.

       Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and

waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403

because its tendency to confuse the issues, mislead the jury, create side issues or a mini-trial can

result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of Secret Service witnesses could compromise national security without adding any

appreciable benefit to the determination of the truth, or the veracity or bias of witnesses. Id.




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 The Secret Service is authorized to protect the Vice President and his immediate family. 18
U.S.C. §§ 3056(1) and (2).

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   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence

          Should the Court determine that a hearing is necessary to assess the admissibility of

testimony by a Secret Service witness, the government requests the hearing be conducted in camera

and ex parte. As noted, in this case, disclosure of certain information could prove detrimental to

the Secret Service’s ability to protect high-level government officials and affect our national

security. Courts have found such considerations justify ex parte, in camera proceedings. See

Gilmore v. Palestinian Interim Self-Gov’t Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (finding that

while ex parte proceedings should be employed to resolve discovery disputes only in extraordinary

circumstances, they are appropriate where disclosure could lead to substantial adverse

consequences, such as where a party sought intelligence materials generated in the midst of a

geopolitical conflict); United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming district court’s

order for in camera inspection of subpoenaed presidential materials); United States v. Kampiles,

609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte proceedings to evaluate

bona fide Government claims regarding national security information are proper.”); In re Taylor,

567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings “serve to resolve, without

disclosure, the conflict between the threatened deprivation of a party’s constitutional rights and

the Government’s claim of privilege based on the needs of public security.”); United States v.

Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same).




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                                       CONCLUSION

       For these reasons, the United States requests that the Court enter an order, as described

above, limiting cross-examination of any Secret Service witness. If the Court determines an

evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.




                                            Respectfully submitted,

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